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James Dunn
February 23, 2018

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS - WESTERN DIVISION

CAL NO... 331 7evs0031

JANETTE HERNANDEZ PAGAN, PPA
Fon, a Manor.
PLAINTIFF

VS se

CITY OF HOLYOKE, A MUNICIPAL CORPORATION,
OFFICER THOMAS J. LEAHY, OFFICER JAMES
DUNN, OFFICER JABET LOPEZ

DEFENDANTS

taken before Roxanne C. Costigan,
Certified Merit Reporter, Notary Public, pursuant to
Rule 30 of the Federal Rules of Civil Procedure, at
the law offices of ACCURATE COURT REPORTING, TEINIC. = 2
i500 Main Street, Suite 222, Springfield, MA, on
February 23, 2018.

Roxanne C. Costigan
Certified Merit Reporter

 

 

 

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CO. When you did un-ah, just for the record,
that meant a no?

A. No.

(>. Thank you. Did you hear over the radio
that there was a report of fired shots that evening?

A. Yes, 1 .daid.

&. Do you remember -- that's not something
that happens every single night at Holyoke, is it?

A. Not every night .

O. sO, do you recall what part of the city
you were in when you received that call?

A. Yes. I was on Southampton Road.

©. Back in the day in '14, what area of the
city were you responsible for patrolling?

A. ioWas.Car.6.:  So,,.that would be car 6's
area which is mostly the Churchill neighborhood.

Oo. And not being a Holyoke native, where is
the Churchill neighborhood in relation to the Holyoke
bridge?

A. It would be kind of in the middle of the
city. it's mot far. Holyoke's not a big town.

5. Were you the first officer to arrive at

the scene?

A. No.

 

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better. it just adds light to a situation.
C. Right. And, so, are you to the left of

Mr. leahy or to. the right of Mr. Leahy?

A. loam to His Fight.

o- How many feet away are you from him?
A. A few feet.

QO. Are you also holding your gun at the

ready position?

A. Yes.

OG: Tell me what you see. What observations
do you make of this child?

A. I see Felix like squatting, crouching
down on the ground, even though we're screaming and
yelling at him to get down on ground, he is not

obeying our commands.

G. Okay. Is he running away at this point?
A. No. I just said he was crouching down.
@- But is he turning around?

A. He was crouching down.

O. Is he talking to you?

A. i don't. think so.

Q. Did he say any words to you as you

pointed your gun?

Bes I don't recall him saying any words.

 

 

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@. Did he say anything that, as you got
there, anything that -- was he able to verbalize
anything that you heard that he said to Officer Leahy?

GR. JOYeE: Objection.
THE WITNESS: I don't remember
hearing him say anything.

G (By Mr. Pineiro) Okay. Tell me, as you
got there with your gun drawn, tell me every order and
command that you heard Officer Leahy say to Felix.

A. I heard him yelling at him as loud as he

could to get down on the ground.

Q. Tell me exactly tell me what you heard
him say.
A. Get down, get down on the ground, get

down, get down.

G. Did he say just like that or did he gay,
Get down on the fucking ground, or anything like that?

A. Tt don't recall.

Q- All right. How many times would you say
he said it?

A. Numerous times.

O- This must have startled this young kid?

MR. JOYCE: - Objection.

MR. EMMA: Objection.

 

 

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oO. So, if he raised his hands, that occurred

before your time?
MR. EMMA: Objection.
THE WITNESS: I never saw it.

QO. (By Me. Pineiro) You never saw that.

Did Officer Leahy tell you that at first, he raised
his hands?

A. No.

C. What did he tell you that happened before
before you got there?

A. I don't think we discussed about what
happened before he got there.

Oe He didn't. He never told you what he did
what his reactions were before he got there?

A. We were in the middle of someone who was
not following our commands. We had just had four
people get shot at. We had already taken a gun from
the scene. This was a very, very serious call. This
is about the most serious thing a Police Officer can
deal with.

QO. Yeah.

A. We weren't about to have a discussion
about what happened before we got there.

Q. No, but eventually --

 

 

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A. We were dealing with the threat at hand.
That's what we were doing.

Oo. But eventually, you had a discussion with
him, when things calmed down? What I'm trying to get

from you is, what did he tell you?

A. EE Gon’ t recall .
CG: ¥You forgot?
A. I don't know what he told me about what

happened before.

oO. He must have told you things, right?
A. don't. know.
O. All right. So, when you get there, only

because we don't have a camera here that tells us what
to do, was he standing up when you first saw him?
Pu. He: was --
MR. JOYCE: Objection.
THE WITNESS: -- crouching down.
©. (By Mr. Pineiro) Crouching down. Can
you stand up and show us the first position you saw
him?
A. You would like to see me crouch down?
©. Yes. Like, the first time you saw him,
tell me what he was doing with his body.

A. This is what he was doing.

 

 

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GC. So, you're kneeling -- you're kneeling,

you're crouching down?

A. Lm crouching.

e. And you have your hands up?

A. Like this.

Q. So, when you saw that, did that suggest
to. you that -- did you understand at that point that

you were dealing with a kid or did you think --

A. No.
g. -- he was much older?
A. I'm dealing with someone who could kill

me. That's who I was dealing with.
MR. JOYCE: Objection.
Q. (By Mr..Pineiro) So, you didn't know you
were dealing with a kid?
A. No.

G. Now, you thought you were dealing with a

large person?

A. No.
MR. JOYCE: Objection.
Q. (By Mr. Pineiro) No. Okay. So, did the
fact that -- and because his hands were up, you didn't

see anything in his hands?

A. I didn't see anything in his hands.

 

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G. How many times did you strike Felix?
A. Several times.
0. How do you -- in 2000 -- has the way in

which you report the use of force changed between '14

and today?

A. I don't know.

ey. When you struck him, did you strike him
with -- how did you strike him? Did you strike him

with a closed fist?

A. Closed fist .

iD: f1osed fist. Nok a palm heel strike?

A. No.

QO. How many times would you say you struck
him?

A. Several times.

O. More than three?

A. I don't know. Several times.

QO. You lost track of how many times you

struck him?
A. No. I wrote in my report it was several
times. That's my best guess.

Co. So, several is more than one but could be
three or four?

A. Sure.

 

 

 

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@.. Under what circumstances can you deliver
head strikes in the use of force policy that the

department uses?

B. Under normal circumstances.
OO. Yeah?
A. If someone is assaultive, but this was

not a normal circumstance.

O. Okay. This was a person that wasn't
pointing a weapon at you?

A. No.

i. This was not a person that was running

away from you?

Pe No.

CG. Is it your testimony that you tackled
Felix?

A. Yes.

0. Did you punch him first or did you tackle

hin: £2ese?

A. No. if tackied bim first .

Q. So, you ran thirty -- when you tackled
him, where was he in relation to the ground? Was he
still crouching down?

A. I believe so.

O- Hands open?

 

 

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approach him in a tactical manner until he got on the

ground?

A. Because Officer Leahy still had his gun
up.

0. And did Officer Leahy walk towards closer
to him --

A. I dom*t know.

Q. -- or did he remain on the same spot?

A. E*’m. not sure. f£ was busy running.

oO. You definitely put your gun down, meaning

you pul 1b an your holster?
A. i definitely put it in my holster.

Oo. What kind of holster do you carry for

your firearm?

A. Safariland 6204.

0 Okay. They're nice.

A. t's &@ nice holster.

Q.. It's a nice holster, absolutely.

SO, you're not sure if you pushed or if

you just tackled? Did you roll over on the ground?

A. I don't recall.

Q. How do you recall landing on the ground
then?

A. i remember hitting him as hard as I

 

 

 

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could. -That*s what I remember. And then --

O:. Did you kick him?

A. -- after he was ground --

©. Did you kick him?

A. No.

O.. And then after he was on the ground?

A. Officer -- I remember Officer Leahy and I

struggling to his hands out from underneath him.

OC: Where is he in relation to Water Street?
is he closer to the canal or closer to the building?

A. i don't. know;

OQ. If we showed you a picture, would you be
able to say?

A. He was in the middle of the street to my
best recolleckion.

G: All right. Where was his head looking,
towards the canal or in any other direction?

A. I have no idea.

QO. So, when did you put your gun -- when did
you re-holster your gun, before you started running?

AK. Betore | started running, I told Officer
Leahy I was going in so he wouldn't shoot me, because
startle reflex is a real thing, and then I went in.

ee Okay. When you hit -- was he still

 

 

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crouched when you hit him as hard as you could?

A. I believe so.

@: And 250 pounds full throttle and he
remained conscious when you hit him?

A. Absolutely. He fought with us
afterwards. He struggled with us.

Q. How did he fight with you?

A. He pulled his hands underneath his body
to his waist which is unfortunately the place where a
lot of people keep firearms and weapons in their
pockets and in their waistband. So, that's why we
continued to struggle with him.

Oo. So, when you punched him, that's when he
got. to the ground?

A. COFESCT .

Oo. And that's when you think you punched him
as hard as you could in the head?

A. Yes.

©. Although you're not sure how many times

all, together at least two?

A. BE least two.

O. Where in the head did you hit?

A. I'm not sure.

©: And he didn't pass out while you were

 

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punching him in the head?

A. He struggled with us the whole time.
OG. Okay.
A. He's a steep struggler. He was fighting

with us the whole time.
Q. And is he saying anything as he is

struggling with you?

A. I don't remember.

QO. Why wouldn't you remember something like
that?

A. I was focused on getting his hands under

control so he couldn't pull a weapon out and shoot me
or stab me. I was focused on my safety, Officer
Leahy's safety and the people around us.

OG. I haven't asked you, what's Leahy doing

to him at this point in time? Is he punching him too?

re lL don'*t know.

Oo. Is he delivering knee strikes?

A. I have no idea. I was focused on my job.
6. Got you. How did he get the injuries to

his face? Have you seen photos of him?

A. I have.
S. How did he get those injuries?
A. I would say from fighting with the

 

 

 

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police.

0. Fighting with the police? Okay. How
long did you fight on the ground?

A. A minute or two.

Q. So, you tackled him, you punch him a
couple of times in the head. Now, when is it that
Jabet Lopez comes in, because he also gets involved,
this is three on one?

A. I don't remember Jabet being there until
afterwards. I know by reading his report that he was
there, but I don"t see him. I focus on myself and
trying to get his hands. My main goal was to get his

hands in handcuffs so he couldn't hurt us.

oF Did Jabet him hit on the head with a
baton?

A. I never saw that .

O. You know he has this thing that looks

just like an impression of a baton strike to the head?

MR. EMMA: Objection.

Q. (By Mr. Pineiro) Have you seen that
photograph?

A. No.

QO. Did Jabet tell you -- so, you never saw

Jabet with the baton in his hand?

 

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